                     Case 23-11069-CTG          Doc 903-3    Filed 10/23/23        Page 1 of 2




                              IN THE UNITED STATES BANKRUPTCY
                                  COURT FOR THE DISTRICT OF
                                         DELAWARE

    In re:                                                  Chapter 11

    YELLOW CORPORATION, et al.,                             Case No. 23-11069 (CTG)

                         Debtors. 1                         Objection Deadline: November 6, 2023 at 4 p.m. (ET)
                                                            Hearing date: November 13, 2023 at 10 a.m. (ET)


                Upon consideration of the Motion of James Alexander and Lisa Alexander for Relief from

the Automatic Stay (the “Motion”), the Court having determined that good and adequate cause

exists for approval of the Motion, and the Court having determined that no further notice of the

Motion is necessary, and for the reasons set forth on the record, it is hereby ORDERED THAT:

                1.     The Motion is granted.

                2.     Movants are granted relief from the Automatic Stay for cause shown and are

permitted to proceed with and prosecute the State Court Action 2 against the Debtors and any other

individuals or entities, including any subsequent appeals, and may enforce any judgment, including

any alternative dispute resolution award or settlement obtained in the State Court Action against

the Debtors and/or the Debtors’ applicable insurance.

                3.     This Order shall become effective immediately upon entry by the Court and is not

subject to the fourteen-day stay provided in Rule 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure.



1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
2
  Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.


{C1287881.1 }
                     Case 23-11069-CTG        Doc 903-3      Filed 10/23/23      Page 2 of 2




                4.    This Court shall retain jurisdiction over any and all issues arising from or related

to the implementation and interpretation of this Order.




{C1287881.1 }
